 Case: 4:21-cv-01114-RWS Doc. #: 59 Filed: 04/14/22 Page: 1 of 1 PageID #: 455


                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


ACUITY,                                     )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   )         Case No. 4:21 CV 1114 RWS
                                            )
RRR TRUCKING, LLC, et al.,                  )
                                            )
            Defendants.                     )

                           CASE MANAGEMENT ORDER

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan

and the Differentiated Case Management Program of the United States District Court of

the Eastern District of Missouri, and the Rule 16 Conference held on April 14, 2022,

      IT IS HEREBY ORDERED that the following schedule shall apply in this case,

and will be modified only upon a showing of exceptional circumstances:

                                I.     SCHEDULING PLAN

       1.     Plaintiff shall file its motion for summary judgment no later than June 10,
2022. Opposition briefs, or motions to conduct limited discovery in order to respond to
the motion for summary judgment, shall be filed no later than July 15, 2022. Any reply
brief may be filed no later than July 29, 2022.



                                         RODNEY W. SIPPEL
                                         UNITED STATES DISTRICT JUDGE


Dated this 14th day of April, 2022.
